                     Case 4:08-cr-00315-RSB-CLR Document 1538 Filed 05/18/15 Page 1 of 1
AO 247 (10/I1) Order Regarding Motion for Sentence Reduction Pursuant to IS U.S.C. § 3582(c)(2)                                   Page I of 2 (Page 2 Not for Public Disclosure)




                                                                 UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                       Southern District of Georgia
                                                                           Savannah Division

                        United States of America                                          )


                                          V.                                              )


                                                                                              Case No: 4:08-CR-00315-21
                           Marion Legrant Saussy                                          )



                                                                                          )   USMNo: 11319-021
Date of Original Judgment:        December 7, 2009                                        )   Derek Craig Gilbert
Date of Previous Amended Judgment: Not Applicable                                         )   Defendant's Attorney
(Use Date of Last Amended Judgment, f any)


                                           Order Regarding Motion for Sentence Reduction Pursuant to IS U.S.C. § 3582(c)(2)


        Upon motion of         the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C. 7
                                                                                                                        X
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG § I 1 .10 and
the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
    DENIED. FXJ GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in the last judgment
                issued) of 120 months is reduced to                          98 lllOflthS

              F-
                                                     ('Complete Paris I and 11 of Page 2 when motion is granted)

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              Jo


                                         c.
                                          —J
                                          C)




Except as otherwise provided above, all provisions of the judgment dated December 7. 2009.                                   shall remain in effect.
 IT IS SO ORDERED.

Order Date:               Mcy
                                                                                                                    Judge's si4éure


                                                                                                  William T. Moore, Jr.
                                                                                                  Judge, U.S. District Court
 Effective Date: November 1, 2015                                                                 Southern District of Georgia
                           (j/different from order date)                                                           Printed name and title
